
29 N.Y.2d 612 (1971)
The People of the State of New York, Appellant,
v.
Erasmus Iannaccone and Frederick Kagan, Respondents.
Court of Appeals of the State of New York.
Argued May 26, 1971.
Decided July 7, 1971.
William Cahn, District Attorney (Henry P. DeVine of counsel), for appellant.
Gustave H. Newman for respondents.
Frank S. Hogan, District Attorney (Lewis R. Friedman and Michael R. Juviler of counsel), amicus curiae.
Concur: Judges SCILEPPI, BERGAN, BREITEL, JASEN and GIBSON. Chief Judge FULD and Judge BURKE dissent and vote to affirm for the reasons stated in the dissenting opinion in People v. Feinlowitz (29 N Y 2d 176), decided herewith.
Order reversed, indictment reinstated and case remitted to Nassau County Court for trial (see People v. Feinlowitz, 29 N Y 2d 176, decided herewith). No opinion.
